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                                           OFFICE OF THE CLERK

       PATRICIA S.               UNITED STATES COURT OF APPEALS                    TELEPHONE
      DODSZUWEIT                      21400 UNITED STATES COURTHOUSE             215-597-2995
                                             601 MARKET STREET
         CLERK                           PHILADELPHIA, PA 19106-1790
                                     Website: www.ca3.uscourts.gov

                                               May 24, 2019




John Mirabella
Gregory A. Smith
1600 Market Street
Suite 1810
Philadelphia, PA 19103

Edward J. Schwabenland
Schwabenland & Ryan
995 Old Eagle Road
Suite 306
Wayne, PA 19087


RE: John Doe v. St Josephs University, et al
Case Number: 19-2158
District Court Case Number: 2-18-cv-02044

PACER account holders are required to promptly inform the PACER Service
Center of any contact information changes. In order to not delay providing
notice to attorneys or pro se public filers, your information, including address,
phone number and/or email address, may have been updated in the Third
Circuit database. Changes at the local level will not be reflected at PACER.
Public filers are encouraged to review their information on file with PACER and
update if necessary.

To All Parties:

Enclosed is case opening information regarding the above-captioned appeal filed by John Doe,
docketed at No.19-2158. All inquiries should be directed to your Case Manager in writing or by
calling the Clerk's Office at 215-597-2995. This Court's rules, forms, and case information are
available on our website at http://www.ca3.uscourts.gov.
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On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were amended
modifying deadlines and calculation of time. In particular those motions which will toll the
time for filing a notice of appeal under Fed.R.App.P. 4(a)(4), other than a motion for
attorney's fees under Fed.R.Civ.P. 54, will be considered timely if filed no later than 28
days after the entry of judgment. Should a party file one of the motions listed in
Fed.R.App.P 4(a)(4) after a notice of appeal has been filed, that party must immediately
inform the Clerk of the Court of Appeals in writing of the date and type of motion that was
filed. The case in the court of appeals will not be stayed absent such notification.

Counsel for Appellant

As counsel for Appellant(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Civil Information Statement
4. Disclosure Statement (except governmental entities)
5. Concise Summary of the Case
6. Transcript Purchase Order Form.
These forms must be filed within fourteen (14) days of the date of this letter.

Failure of Appellant(s) to comply with any of these requirements by the deadline will result
in the DISMISSAL of the case without further notice. 3rd Circuit LAR Misc. 107.2.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Disclosure Statement (except governmental entities)
These forms must be filed within fourteen (14) days of the date of this letter.



Parties who do not intend to participate in the appeal must notify the Court in writing. This
notice must be served on all parties.

Attached is a copy of the full caption in this matter as it is titled in the district court. Please
review the caption carefully and promptly advise this office in writing of any discrepancies.

Very truly yours,

s/ Patricia S. Dodszuweit
Clerk

By: Caitlyn/JK
Case Manager
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267-299-4956

cc:      Steven N. Cherry
         Susan R. Engle
         John M. Myers
         Albert L. Piccerilli
